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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                   Northern District
                                                  __________ District   of Georgia
                                                                     of __________

                                                                 )
                                                                 )
William Rigsby
                                                                 )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                       Civil Action No. 4:22-cv-00059-HLM-WEJ
                                                                 )
Healthcare Revenue Recovery Group, Inc. d/b/a                    )
HRRG                                                             )
                                                                 )
                                                                 )
                           Defendant(s)                          )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
 Healthcare Revenue Recovery Group, Inc. d/b/a HRRG
 c/o Corporation Service Company
 2 Sun Court, Suite 400
 Peachtree Corners, Georgia 30092

          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:       Matthew T. Berry
                                           Berry & Associates, LLC
                                           2751 Buford Highway, Suite 600
                                           Atlanta, GA 30324

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                            KEVIN P. WEIMER
                                                                            CLERK OF COURT


             4/25/2022                                                        s/ T. Frazier
Date:
                                                                                     Signature of Clerk or Deputy Clerk
